

Fleischer v Upholstery  &amp;  Design Workroom NYC, Inc. (2023 NY Slip Op 51430(U))



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Fleischer v Upholstery  &amp;  Design Workroom NYC, Inc.


2023 NY Slip Op 51430(U)


Decided on December 27, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on December 27, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, Tisch, JJ.



570818/23

Georgette Fleischer, Plaintiff-Appellant,
againstUpholstery and Design Workroom NYC, Inc. and Jerry Ehrlich, Defendants-Respondents.




Plaintiff appeals from a judgment of the Small Claims Part of the Civil Court of the City of New York, New York County (Jose A. Padilla, Jr., J.), entered March 8, 2023, after trial, in favor of defendants dismissing the action.




Per Curiam.
Judgment (Jose A. Padilla, Jr., J.), entered March 8, 2023, after trial, affirmed without costs.
A judgment rendered in the Small Claims Part of the Civil Court will be sustained on appeal unless it is shown that "substantial justice" has not been done between the parties according to the rules and principles of substantive law (CCA 1807). Applying this narrow standard of review, and giving due deference to the trial court's express findings of fact and credibility (see Williams v Roper, 269 AD2d 125, 126 [2000], lv dismissed 95 NY2d 898 [2000]), we find no basis to disturb the judgment of the trial court dismissing plaintiff's claim. The evidence, fairly interpreted, supports the court's finding that plaintiff did not "present[] sufficient evidence to support her claim that the [d]efendants did not apply and use the fabric" that she supplied to reupholster her sofa. We find plaintiff's remaining contentions unpersuasive or beyond the trial record.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concurDecision Date: December 27, 2023









